IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
UNITED STATES OF AMERICA ) DOCKET NO.: 3:20-cr-308-FDW
)
v. ) CONSENT ORDER AND
) JUDGMENT OF FORFEITURE
WILLIE LUMARRIS BAXTER ) PENDING RULE 32.2(c)(2)

1. The following property is forfeited to the United States pursuant to 18 U.S.C. § 924
and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific assets is subject to any
and all third party petitions under 21 U.S.C. § 853(n), pending final adjudication herein:

One Taurus 9mm handgun and ammunition seized from Defendant on or about
October 6, 2019.

2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

3. If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

5. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

6. As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

7. The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or property used in any manner to facilitate the commission of such offense(s) and
are therefore subject to forfeiture pursuant to 18 U.S.C. § 924 and/or 28 U.S.C. § 2461(c). The
Defendant hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a) regarding notice of

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the forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment against Defendant. If the Defendant has previously
submitted a claim in response to an administrative forfeiture proceeding regarding any of this
property, Defendant hereby withdraws that claim. If Defendant has not previously submitted such
a claim, Defendant hereby waives all right to do so. As to any firearms listed above and/or in the
charging instrument, Defendant consents to destruction by federal, state, or local law enforcement
authorities upon such legal process as they, in their sole discretion deem to legally sufficient, and
waives any and all right to further notice of such process or such destruction.

R. ANDREW MURRAY

 

 

 

 

UNITED STATES ATTORNEY
ao WUE dg Pope

STEVEN R. KAUFMAN WILLIE LUMARRIS BAXTER

Assistant United States Attorney Defendant J
rose LEDFORLESG. “/
Attorney for Defendant

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Date: te 0 Pd = —

David S. Cayer

United States Magistrate Judge (

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